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 1   Aimee Wagstaff, SBN 278480
     aimee.wagstaff@andruswagstaff.com
 2   Andrus Wagstaff, PC
     7171 West Alaska Drive
 3   Lakewood, CO 80226
 4   Telephone: (303) 376-6360
     Facsimile: (303) 376-6361
 5   Attorney for Plaintiffs
 6
 7                              UNITED STATES DISTRICT COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
 9                                   SAN FRANCISCO DIVISION
10
11                                                     MDL No. 2741
      IN RE ROUNDUP PRODUCTS
12                                                     Case No. 16-md-02741
      LIABILITY LITIGATION
13
14
      This Document Relates To All Actions
15
16
          DECLARATION OF AIMEE H. WAGSTAFF IN SUPPORT OF PLAINTIFFS’
17          MEMORANDUM OF LAW IN OPPOSITION TO MONSANTO COMPANY’S
18          DAUBERT AND SUMMARY JUDGMENT MOTION AND IN SUPPORT OF
                           PLAINTIFFS’ DAUBERT MOTION
19
20
            I Aimee H. Wagstaff, declare:
21
            1.      I am an attorney and a member of the Executive Committee of MDL No. 2741. I
22
     make this declaration in support of Plaintiffs’ Memorandum of Law in Opposition to Monsanto
23
     Company’s Daubert and Summary Judgment Motion and in Support of Plaintiffs’ Daubert
24
     Motion filed on October 27, 2017. I have personal knowledge of the facts stated herein and, if
25
     called as a witness, I could and would testify competently to these matters.
26
            2.      Annexed hereto as Exhibit 1 is a true and correct copy of an E-mail from Heather
27
     Pigman to Robin Greenwald (May 17, 2017).
28
                                        -1-
       DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
               DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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 1         3.      Annexed hereto as Exhibit 2 is a true and correct copy of an E-mail from Heather
 2   Pigman to Robin Greenwald (July 24, 2017).
 3         4.      Annexed hereto as Exhibit 3 is a true and correct copy of the Expert Report of Dr.
 4   Beate Ritz (May 1, 2017).
 5         5.      Annexed hereto as Exhibit 4 is a true and correct copy of the Expert Report of Dr.
 6   Alfred Neugut (Apr. 28, 2017).
 7         6.      Annexed hereto as Exhibit 5 is a true and correct copy of the Expert Report of Dr.
 8   Christopher Portier (May 1, 2017).
 9         7.      Annexed hereto as Exhibit 6 is a true and correct copy of the Expert Report of Dr.
10   Charles Jameson (May 12, 2017).
11         8.      Annexed hereto as Exhibit 7 is a true and correct copy of the Expert Report of Dr.
12   Chadi Nabhan (Apr. 28, 2017).
13         9.      Annexed hereto as Exhibit 8 is a true and correct copy of the Expert Report of Dr.
14   Dennis Weisenburger (Apr. 21, 2017).
15         10.     Annexed hereto as Exhibit 9 is a true and correct copy of the Expert Report and
16   Expert Rebuttal Report of Dr. Michael Wolfson (Dec. 17, 1010 and Feb. 11, 2011,
17   respectively), Arias, et al. v. Dyncorp, et al., Case No. 1:07-cv-01042-ESH.
18         11.     Annexed hereto as Exhibit 10 is a true and correct copy of the Meeting Minutes
19   and Final Report of the December 13-16, 2016 FIFRA SAP Meeting Held to Consider and
20   Review Scientific Issues Associated with EPA’s Evaluation of the Carcinogenic Potential of
21   Glyphosate.
22         12.     Annexed hereto as Exhibit 11 is a true and correct copy of MONGLY02060344.
23         13.     Annexed hereto as Exhibit 12 are true and correct copies of MONGLY03550799
24   and MONGLY03550800.
25         14.     Annexed hereto as Exhibit 13 is a true and correct copy of MONGLY03914265.
26         15.     Annexed hereto as Exhibit 14 is a true and correct copy of the glyphosate patent.
27         16.     Annexed hereto as Exhibit 15 is a true and correct copy of MONGLY00990361.
28         17.     Annexed hereto as Exhibit 16 is a true and correct copy of the EPA Summary of
                                       -2-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
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                                3:16-md-02741-VC
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 1   the IBT Review Program (July 1983).
 2         18.     Annexed hereto as Exhibit 17 is a true and correct copy of MONGLY00233278.
 3         19.     Annexed hereto as Exhibit 18 is a true and correct copy of MONGLY00235488.
 4         20.     Annexed hereto as Exhibit 19 is a true and correct copy of MONGLY04278109.
 5         21.     Annexed hereto as Exhibit 20 is a true and correct copy of MONGLY04278139.
 6         22.     Annexed hereto as Exhibit 21 is a true and correct copy of MONGLY04268982.
 7         23.     Annexed hereto as Exhibit 22 is a true and correct copy of Waters, et al., James
 8   M. Parry (1940–2010) Mutagenesis (2011) 26 (1): 1-2.
 9         24.     Annexed hereto as Exhibit 23 is a true and correct copy of MONGLY01314233
10         25.     Annexed hereto as Exhibit 24 is a true and correct copy of the Deposition Excerpt
11   of Mark Martens (Apr. 7, 2017).
12         26.     Annexed hereto as Exhibit 25 is a true and correct copy of Williams, et al., Safety
13   Evaluation and Risk Assessment of the Herbicide Roundup and Its Active Ingredient,
14   Glyphosate, for Humans, REGULATORY TOXICOLOGY AND PHARMACOLOGY, 31, 117-165
15   (2000).
16         27.     Annexed hereto as Exhibit 26 is a true and correct copy of MONGLY00977264.
17         28.     Annexed hereto as Exhibit 27 is a true and correct copy of MONGLY00922458.
18         29.     Annexed hereto as Exhibit 28 is a true and correct copy of MONGLY03751016.
19         30.     Annexed hereto as Exhibit 29 is a true and correct copy of MONGLY02598454.
20         31.     Annexed hereto as Exhibit 30 is a true and correct copy of MONGLY02067858.
21         32.     Annexed hereto as Exhibit 31 is a true and correct copy of Kier & Kirkland,
22   Review of genotoxicity studies of glyphosate and glyphosate-based formulations, 43 CRIT. REV.
23   TOXICOL., 4, 283-315 (2013).
24         33.     Annexed hereto as Exhibit 32 is a true and correct copy of MONGLY01691608.
25         34.     Annexed hereto as Exhibit 33 is a true and correct copy of MONGLY02117800.
26         35.     Annexed hereto as Exhibit 34 is a true and correct copy of MONGLY02145917.
27         36.     Annexed hereto as Exhibit 35 is a true and correct copy of MONGLY04086537.
28         37.     Annexed hereto as Exhibit 36 is a true and correct copy of MONGLY01228577.
                                       -3-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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 1         38.     Annexed hereto as Exhibit 37 is a true and correct copy of the Expert Report of
 2   Dr. Warren Foster.
 3         39.     Annexed hereto as Exhibit 38 is a true and correct copy of the Expert Report of
 4   Dr. Jay Goodman.
 5         40.     Annexed hereto as Exhibit 39 is a true and correct copy of the August 24, 2017
 6   Hearing Transcript.
 7         41.     Annexed hereto as Exhibit 40 is a true and correct copy of MONGLY01207342.
 8         42.     Annexed hereto as Exhibit 41 is a true and correct copy of MONGLY00989918.
 9         43.     Annexed hereto as Exhibit 42 is a true and correct copy of MONGLY01021845.
10         44.     Annexed hereto as Exhibit 43 is a true and correct copy of MONGLY00977035.
11         45.     Annexed hereto as Exhibit 44 is a true and correct copy of
12   ACQUAVELLAPROD00010215.
13         46.     Annexed hereto as Exhibit 45 is a true and correct copy of the Deposition
14   Transcript Excerpt of John Acquavella (Apr. 8, 2017).
15         47.     Annexed hereto as Exhibit 46 is a true and correct copy of Pearce, et al., IARC
16   Monographs: 40 Years of Evaluating Carcinogenic Hazards to Humans, 123 ENVIRONMENTAL
17   HEALTH PERSPECTIVES 6 (June 2015).
18         48.     Annexed hereto as Exhibit 47 is a true and correct copy of Bradford Hill, The
19   Environment and Disease: Association or Causation? 58 PROC. ROYAL SOC’Y MED. 295
20   (1965).
21         49.     Annexed hereto as Exhibit 48 is a true and correct copy of the Deposition
22   Transcript and Exhibits of Dr. Aaron Blair (March 20, 2017).
23         50.     Annexed hereto as Exhibit 49 is a true and correct copy of the Deposition
24   Transcript and Exhibits of Dr. Alfred Neugut (Aug. 7, 2017).
25         51.     Annexed hereto as Exhibit 50 is a true and correct copy of the Deposition
26   Transcript and Exhibits of Dr. Lorelei Mucci (Sept. 22, 2017).
27         52.     Annexed hereto as Exhibit 51 is a true and correct copy of the Expert Report of
28   Dr. Lorelei Mucci.
                                       -4-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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 1         53.     Annexed hereto as Exhibit 52 is a true and correct copy of the Deposition
 2   Transcript and Exhibits of Dr. Jennifer Rider (Sept. 21, 2017).
 3         54.     Annexed hereto as Exhibit 53 is a true and correct copy of MONGLY02314040.
 4         55.     Annexed hereto as Exhibit 54 is a true and correct copy of M. Eriksson et al,
 5   Pesticide exposure as risk factor for non-Hodgkin lymphoma including histopathological
 6   subgroup analysis, 123 INT’L J CANCER 7, 1657-63 (July 2008).
 7         56.     Annexed hereto as Exhibit 55 is a true and correct copy of De Roos. Integrative
 8   Assessment of Multiple Pesticides as Risk Factors for Non-Hodgkin’s Lymphoma Among Men,
 9   60 OCCUP. ENVIRON MED. e11, 1-9 (2003).
10         57.     Annexed hereto as Exhibit 56 is a true and correct copy of Chang et al., Meta-
11   Analysis of Glyphosate Use and Risk of Non-Hodgkin Lymphoma, Exponent 1, 5 (2017).
12         58.     Annexed hereto as Exhibit 57 is a true and correct copy of the Deposition
13   Transcript and Exhibits of Dr. Dennis Weisenburger (Sept. 11, 2017).
14         59.     Annexed hereto as Exhibit 58 is a true and correct copy of the Deposition
15   Transcript and Exhibits of Dr. Beate Ritz (Sept. 18, 2017).
16         60.     Annexed hereto as Exhibit 59 is a true and correct copy of Hardell L., et al.,
17   Exposure to pesticides as risk factor for non-Hodgkin's lymphoma and hairy cell leukemia:
18   pooled analysis of two Swedish case-control studies, 43 LEUK LYMPHOMA 5, 1043-49 (2002).
19         61.     Annexed hereto as Exhibit 60 is a true and correct copy of McDuffie, H.H., et al.,
20   Non-Hodgkin’s Lymphoma and Specific Pesticide Exposures in Men: Cross-Canada Study of
21   Pesticides and Health, CANCER EPI., BIOMARKERS & PREVENTION, Vol. 10, 1155–1163
22   (November 2001).
23         62.     Annexed hereto as Exhibit 61 is a true and correct copy of the deleted slides from
24   Dr. Blair’s NAPP power point.
25         63.     Annexed hereto as Exhibit 62 is a true and correct copy of Expert Rebuttal Report
26   of Dr. Beate Ritz (August 18, 2017).
27         64.     Annexed hereto as Exhibit 63 is a true and correct copy of Pahwa M., et al. A
28   Detailed Evaluation of Glyphosate Use and the Risk of Non-Hodgkin Lymphoma in the North
                                       -5-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
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 1   American Pooled Project. Canadian Association for Research on Work and Health; October 16-
 2   18 2016; Toronto, ON (“CARWH 2016”).
 3         65.    Annexed hereto as Exhibit 64 is a true and correct copy of Pahwa M., et al. An
 4   Evaluation Of Glyphosate Use And The Risks Of Non-Hodgkin Lymphoma Major Histological
 5   Sub-types In The North American Pooled Project (NAPP). International Society for
 6   Environmental Epidemiology; August 31, 2015; Sao Paulo, Brazil (“ISEE 2015”).
 7         66.    Annexed hereto as Exhibit 65 is a true and correct copy of Pahwa M., et al. A
 8   Detailed Assessment of Glyphosate Use and the Risks of Non-Hodgkin Lymphoma Overall and
 9   by Major Histological Sub-types: Findings from the North American Pooled Project.
10   International Agency for Research on Cancer; June 10, 2016 (“IARC 2016”).
11         67.    Annexed hereto as Exhibit 66 is a true and correct copy of the draft manuscript of
12   Pahwa M., et al., An Evaluation of Glyphosate Use and the Risks of Non-Hodgkin Lymphoma
13   Major Histological Subtypes in the North American Pooled Project (NAPP). Occupational
14   Cancer Research Center, 2015 at 2-3 (“NAPP 2015”).
15         68.    Annexed hereto as Exhibit 67 is a true and correct copy of Schinasi & Leon, Non-
16   Hodgkin Lymphoma and Occupational Exposure to Agricultural Pesticide Chemical Groups
17   and Active Ingredients: A Systematic Review and Meta-Analysis, 11 INT. J. ENVIRON. RES.
18   PUBLIC HEALTH 4, 4449-4527 (2014).
19         69.    Annexed hereto as Exhibit 68 is a true and correct copy of Chang & Delzell,
20   Systematic review and meta-analysis of glyphosate exposure and risk of lymphohematopoietic
21   cancers, 51 J. ENVIRON. SCI. HEALTH B 6, 402-434 (2016).
22         70.     Annexed hereto as Exhibit 69 is a true and correct copy of MONGLY00894004.
23         71.    Annexed hereto as Exhibit 70 is a true and correct copy of MONGLY00877463.
24         72.    Annexed hereto as Exhibit 71 is a true and correct copy of Gray, et al., The
25   Federal Government's Agricultural Health Study: A Critical Review with Suggested
26   Improvements, 6 HUMAN AND ECOLOGICAL RISK ASSESSMENT 1, 47-71 (2000).
27         73.    Annexed hereto as Exhibit 72 is a true and correct copy of De Roos, et al., Cancer
28   Incidence among Glyphosate-Exposed Pesticide Applicators in the Agricultural Health Study,
                                       -6-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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 1   113 ENVIRON HEALTH PERSPECT. 1, 49–54 (Jan 2005).
 2         74.     Annexed hereto as Exhibit 73 is a true and correct copy of Blair, et al., Impact of
 3   pesticide exposure misclassification on estimates of relative risks in the Agricultural Health
 4   Study, OCCUP. ENVIRON. MED., published online (January 21, 2011).
 5         75.     Annexed hereto as Exhibit 74 is a true and correct copy of Portier, et al.,
 6   Differences in the carcinogenic evaluation of glyphosate between the International Agency for
 7   Research on Cancer (IARC) and the European Food Safety Authority (EFSA) (2015).
 8         76.     Annexed hereto as Exhibit 75 is a true and correct copy of a June 21, 2014 email
 9   sent to Dr. Michael Alavanja.
10         77.     Annexed hereto as Exhibit 76 is a true and correct copy of Alavanja, Non-
11   Hodgkin Lymphoma Risk and Insecticide, Fungicide and Fumigant Use in the Agricultural
12   Health Study, PLoS ONE 9(10): e109332 (2014).
13         78.     Annexed hereto as Exhibit 77 is a true and correct copy of a February 27, 2014
14   email among AHS investigators regarding NHL manuscript rejected by IJC.
15         79.     Annexed hereto as Exhibit 78 is a true and correct copy of Heltshe, et al., Using
16   multiple imputation to assign pesticide use for nonresponders in the follow-up questionnaire in
17   the Agricultural Health Study, 22 J EXPO SCI ENVIRON EPIDEMIOL. 4, 409–416 (July 2012).
18         80.     Annexed hereto as Exhibit 79 is a true and correct copy of Rothman, K.J., Six
19   Persistent Research Conceptions, 29 J. Gen. Intern. Med 7, 1060-64, 1063 (2014).
20         81.      Annexed hereto as Exhibit 80 is a true and correct copy of Deposition Transcript
21   and Exhibits of Dr. Chadi Nabhan (Aug. 23, 2017).
22         82.     Annexed hereto as Exhibit 81 is a true and correct copy of Defendant’s Responses
23   to Request for Admission (May 18, 2017).
24         83.     Annexed hereto as Exhibit 82 is a true and correct copy of Vrijheid, M., et al., The
25   Effects of Recall Errors and of Selection Bias in Epidemiologic Studies of Mobile Phone Use
26   and Cancer Risk, 16 J. OF EXPOSURE SCI. & ENVIRON. EPID. 4, 371-384, 372 (2006).
27         84.     Annexed hereto as Exhibit 83 is a true and correct copy of the Briefing for
28   Governing Council Members on IARC evaluation of glyphosate.
                                       -7-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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 1         85.     Annexed hereto as Exhibit 84 is a true and correct copy of MONGLY06385823.
 2         86.     Annexed hereto as Exhibit 85 is a true and correct copy of MONGLY02142251.
 3         87.     Annexed hereto as Exhibit 86 is a true and correct copy of MONGLY02431080.
 4         88.     Annexed hereto as Exhibit 87 is a true and correct copy of MONGLY02155826.
 5         89.     Annexed hereto as Exhibit 88 is a true and correct copy of MONGLY00888353.
 6         90.     Annexed hereto as Exhibit 89 is a true and correct copy of MONGLY01839476.
 7         91.     Annexed hereto as Exhibit 90 is a true and correct copy of MONGLY03737014.
 8         92.     Annexed hereto as Exhibit 91 is a true and correct copy of MONGLY07080361.
 9         93.     Annexed hereto as Exhibit 92 is a true and correct copy of the February 24, 2017
10   Hearing Transcript.
11         94.     Annexed hereto as Exhibit 93 is a true and correct copy of MONGLY00896493.
12         95.     Annexed hereto as Exhibit 94 is a true and correct copy of the Revised Expert
13   Report of Dr. Christopher Portier.
14         96.     Annexed hereto as Exhibit 95 is a true and correct copy of the Deposition
15   Transcript and Exhibits of Dr. Christopher Portier (Sept. 5, 2017).
16         97.     Annexed hereto as Exhibit 96 is a true and correct copy of the Expert Rebuttal
17   Report of Dr. Christopher Portier.
18         98.     Annexed hereto as Exhibit 97 is a true and correct copy of Deposition Transcript
19   and Exhibits of Dr. Thomas Rosol (Sept. 15, 2017).
20         99.     Annexed hereto as Exhibit 98 is a true and correct copy of Deposition Transcript
21   and Exhibits of Dr. Charles Jameson (Sept. 21, 2017).
22         100.    Annexed hereto as Exhibit 99 is a true and correct copy of R. Maronpot, et al.,
23   Relevance of animal carcinogenesis findings to human cancer predictions and prevention, 32
24   TOXICOL PATHOL 40-8 (2004).
25         101.    Annexed hereto as Exhibit 100 is a true and correct copy of D. Begley, et al.,
26   Finding mouse models of Human Lymphomas and Leukemia’s using the Jackson Laboratory
27   Mouse Tumor Biology Database, 99 EXPERIMENTAL AND TOXICOLOGIC PATHOLOGY 533-536,
28   534 (2015).
                                       -8-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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 1         102.    Annexed hereto as Exhibit 101 is a true and correct copy of J. Ward, Lymphomas
 2   and Leukemias in Mice, 57 EXPERIMENTAL AND TOXICOLOGIC PATHOLOGY 377-381 (2006).
 3         103.    Annexed hereto as Exhibit 102 is a true and correct copy of the Expert Report of
 4   Dr. Christopher Corcoran.
 5         104.    Annexed hereto as Exhibit 103 is a true and correct copy of MONGLY01041300.
 6         105.    Annexed hereto as Exhibit 104 is a true and correct copy of Dourson, et al.,
 7   Update: Mode of action (MOA) for liver tumors induced by oral exposure to 1,4-dioxane. 88
 8   REG. TOXICOLOGY AND PHARMACOLOGY 45-55 (2017).
 9         106.    Annexed hereto as Exhibit 105 is a true and correct copy of Dourson, et al., Mode
10   of Action Analysis for Liver Tumors from oral 1,4-dioxane exposures and evidence-based dose
11   response assessment, 68 REG. TOXICOLOGY AND PHARMACOLOGY 397-401 (2014).
12         107.    Annexed hereto as Exhibit 106 is a true and correct copy of R. Wasserstein et al.,
13   Statement on p-values: Context, Process, and Purpose, 70 AMER. STATISTICIAN 129 (2016)
14         108.    Annexed hereto as Exhibit 107 is a true and correct copy of Greenland, S., et al.,
15   Statistical test, P values, confidence intervals, and power: a guide to misinterpretations, 31
16   EUR. J EPIDEMIOL. 337-350 (2016).
17         109.    Annexed hereto as Exhibit 108 is a true and correct copy of OECD Guidance
18   Document 116. Keenan, et al., Best Practices for Use of Historical Control Data of
19   Proliferative Rodent Lesions, TOXICOLOGIC PATHOLOGY 679 (2009).
20         110.    Annexed hereto as Exhibit 109 is a true and correct copy of Paz-y-Miño et al.,
21   Evaluation of DNA damage in an Ecuadorian population exposed to glyphosate, 30 GENETICS
22   AND MOLECULAR BIOLOLOGY, 2, 456–60 (2007).

23         111.    Annexed hereto as Exhibit 110 is a true and correct copy of Bolognesi,
24   Biomonitoring of Genotoxic Risk in Agricultural Workers from Five Colombian Regions:
25   Association to Occupational Exposure to Glyphosate, 72 J TOXICOL ENVIRON HEALTH A, 15-16,
26   986–97 (2009).
27         112.    Annexed hereto as Exhibit 111 is a true and correct copy of Paz-y-Mino et al.,
28   Baseline determination in social, health, and genetic areas in communities affected by
                                       -9-
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
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 1   glyphosate aerial spraying on the northeastern Ecuadorian border, 26 REV ENVTL. HEALTH 45
 2   (2011).
 3         113.    Annexed hereto as Exhibit 112 is a true and correct copy of the Deposition
 4   Transcript and Exhibits of Dr. Matthew Ross (May 3, 2017).
 5         114.    Annexed hereto as Exhibit 113 is a true and correct copy of MONGLY00885224.
 6         115.    Annexed hereto as Exhibit 114 is a true and correct copy of MONGLY04232807.
 7         116.    Annexed hereto as Exhibit 115 is a true and correct copy of C. Bolognesi, et al.
 8   The use of the lymphocyte cytokinesis-block Micronucleus assay for monitoring pesticide-
 9   exposed populations 770 Mutation Research 183-203 (2016).
10         117.    Annexed hereto as Exhibit 116 is a true and correct copy of the Expert Report of
11   Dr. Jennifer Rider.
12         118.    Annexed hereto as Exhibit 117 is a true and correct copy of June 17, 2015 email
13   from Kurt Straif to Keith Solomon re: Genotoxicity of glyphosate in humans.
14         119.    Annexed hereto as Exhibit 118 is a true and correct copy of Discovery Letter sent
15   to Rosemary Stewart and James Sullivan (December 12, 2016).
16         120.    Annexed hereto as Exhibit 119 is a true and correct copy of an Email chain
17   between Plaintiffs’ counsel and Defendant’s counsel re: Letter Re Rodent Carcinogenicity
18   Studies.
19         121.    Annexed hereto as Exhibit 120 is a true and correct copy of C. Alvarez-Moya, et
20   al. Comparison of the in vivo and in vitro genotoxicity of glyphosate isopropylamine salt in
21   three different organisms. Genetics and Molecular Biology, 37, 1, 105-110 (2014).
22         122.    Annexed hereto as Exhibit 121 is a true and correct copy of an Email chain
23   between David Wool, Heather Pigman and Erica Klenicki re Dr. Goodman’s References for
24   Ames GBF Data Set.
25         123.    Annexed hereto as Exhibit 122 is a true and correct copy of the Deposition
26   Transcript and Exhibits of Dr. Warren Foster (September 15, 2017).
27         124.    Annexed hereto as Exhibit 123 is a true and correct copy of EPAHQ_005644.
28         125.    Annexed hereto as Exhibit 124 is a true and correct copy of the Deposition
                                      - 10 -
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
                                3:16-md-02741-VC
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 1   Transcript and Exhibits of Dr. Christopher Corcoran (September 20, 2017).
 2         I hereby declare under penalty of perjury that the facts set forth herein are true and
 3   correct.
 4         Executed this 27th day of October, 2017.
 5
                                                         /s/ Aimee Wagstaff
 6                                                       Aimee Wagstaff, SBN 278480
 7                                                       ANDRUS WAGSTAFF, PC
                                                         aimee.wagstaff@andruswagstaff.com
 8                                                       7171 West Alaska Drive
                                                         Lakewood, CO 80226
 9                                                       Telephone:    (303) 376-6360
                                                         Facsimile:    (303) 376-6361
10
                                                         Co-Lead Plaintiffs’ Counsel
11                                                       For MDL 2741
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                                      - 11 -
      DECL. OF AIMEE H. WAGSTAFF ISO PLAINTIFFS’ OPPOSITION TO MONSANTO’S
              DAUBERT AND MSJ AND ISO PLAINTIFFS’ DAUBERT MOTION
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